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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:13-cr-00018-JCM-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   LEON BENZER, et al.,                      )
                                               )
11                     Defendants.             )
     __________________________________________)
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13          This matter is before the Court on Defendant Ricky Anderson’s Emergency Motion for
14   Outside Medical Treatment (#313) filed July 24, 2014. The Court conducted a hearing in this
15   matter on July 29, 2014. After considering the papers submitted by the parties, as well as oral
16   argument by counsel, the matter having been submitted following argument for decision, and good
17   cause appearing,
18          IT IS ORDERED that Defendant Ricky Anderson’s Emergency Motion for Outside
19   Medical Treatment (#313) is granted. The Court orders that the U. S. Marshal Service transport
20   Defendant Ricky Anderson to a competent outside medical facility or physician for examination
21   and for appropriate treatment as deemed reasonable and necessary.
22          DATED this 6th day of August, 2014.
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24                                                ______________________________________
                                                  GEORGE FOLEY, JR.
25                                                United States Magistrate Judge
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